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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

JSDQ MESH TECHNOLOGIES LLC,

       Plaintiff,

v.                                                          Case No: 8:16-cv-261-T-30JSS

TECO ENERGY, INC. and TAMPA
ELECTRIC COMPANY,

       Defendants.


                                          ORDER

       The Court has been advised via Defendants' Notice of Settlement (Dkt. #23) that the

above-styled action has been settled.      Accordingly, pursuant to Local Rule 3.08(b),

M.D.Fla, it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice and subject to the right of the parties, within sixty (60) days of the date of this

order, to submit a stipulated form of final order or judgment should they so choose or for

any party to move to reopen the action, upon good cause shown. After that 60-day period,

however, dismissal shall be with prejudice. All pending motions, if any, are DENIED as

moot. The Clerk is directed to close the file.

       DONE and ORDERED in Tampa, Florida, this 21st day of June, 2016.




Copies furnished to:
Counsel/Parties of Record
